       Case 2:20-bk-17469-SK Doc 40 Filed 05/07/21 Entered 05/07/21 16:14:03                                           Desc
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                                        United States Bankruptcy Court
                                          Central District of California
                                        255 East Temple Street, Los Angeles, CA 90012

                               ORDER AND NOTICE OF DISMISSAL
                       ARISING FROM CHAPTER 13 CONFIRMATION HEARING
    DEBTOR INFORMATION:                                                            BANKRUPTCY NO. 2:20−bk−17469−SK
    Emma I. Ocampo
                                                                             CHAPTER 13
    Last four digits of Social−Security or Individual Taxpayer−Identification (ITIN) No(s)., (if any): xxx−xx−5946
    Employer Tax−Identification (EIN) No(s).(if any): N/A
    Debtor Dismissal Date: 5/7/21


    Address:
    19127 Amber Valley Drive
    Walnut, CA 91789


Pursuant to the court's findings and conclusions made at the confirmation hearing in this case,
IT IS ORDERED THAT:

(1) debtor's bankruptcy case is dismissed; and
(2) the court retain jurisdiction on all issues involving sanctions, any bar against being a debtor in bankruptcy, all issues arising
    under Bankruptcy Code §§ 105, 109(g), 110, 329, 349, and 362, and to any additional extent provided by law.




                                                                                  BY THE COURT,
Dated: May 7, 2021                                                                Kathleen J. Campbell
                                                                                  Clerk of Court




Form van150−od13a Rev. 06/2017                                                                                              40 / TDM
